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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


EMPIRE CORVETTE OF AMERICA, INC.,                      CASE NUMBER: 6:18-cv-26-Orl-22DCI

                 Plaintiff,
vs.

JUST TOYS CLASSIC CARS, LLC,

            Defendant.
_____________________________________/

         JOINT MOTION FOR ENLARGEMENT OF DEADLINES FOR MEDIATION,
                    DISCOVERY, AND DISPOSITIVE MOTIONS

          Plaintiff, EMPIRE CORVETTE OF AMERICA, INC., and Defendant, JUST TOYS

CLASSIC CARS, LLC, by and through their respective undersigned counsel, jointly move for an

enlargement of the deadlines for mediation, discovery, and dispositive motions, and as grounds

state:

1.        On April 12, 2018, this Court issued a Case Management and Scheduling Order

          (Document No. 21).

2.        Pursuant to such Scheduling Order, this Court set the following deadlines: a discovery

          deadline of July 6, 2018; a mediation deadline of July 13, 2018; and, a dispositive motion

          deadline of August 6, 20181.

3.        The parties have been diligently attempting to coordinate the mediation and any and all

          depositions within such deadlines. However, due to the work and summer vacation

          schedules of various necessary mediation participants and of certain deponents, the

          parties were unable to do so.


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       The parties recognize that this deadline is for dispositive, Daubert, and Markman
motions, but do not anticipate any Daubert or Markman motions being filed in this matter.

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4.                                 Document
      As to the mediation, the parties         29 Filed
                                       have (pending Court07/03/18
                                                           approval ofPage  2 of 3 PageID
                                                                       the requested        200
                                                                                     extension),

       coordinated a mediation with the agreed to and Court ordered mediator Richard Joyce, for

       July 23, 2018. Therefore, the parties are only seeking a ten (10) day extension of the

       mediation deadline up to and including July 23, 2018.

5.     As to the depositions, the parties are requesting an approximate thirty (30) day extension

       of up to and including August 7, 2018.

6.     Because of the requested discovery extension sought, the parties are also requesting a

       corresponding thirty day extension of the dispositive motion deadline of up to and

       including September 6, 2018.

7.     If this Court grants this Motion, such enlargements of time would not cause any delay of

       the trial, which is set for the trial period beginning on January 2, 2019, or of any other

       Court imposed dates or deadlines.

8.     Pursuant to Rule 6(b)(1)(A), Fed. R. Civ. Pro., when an act must be done within a

       specified time, the Court may, upon good cause shown, extend the time, if a request is

       made before the original time or its extension expires.

       WHEREFORE, Plaintiff, EMPIRE CORVETTE OF AMERICA, INC., and Defendant,

JUST TOYS CLASSIC CARS, LLC, respectfully request that this Honorable Court grant this

joint motion and allow for enlargement of the deadlines as requested herein.

       Dated this 3rd day of July, 2018.

 /s/ David S. Cohen                                    s/ Michael Kest
 David S. Cohen, Esquire                             Michael Kest, Esq.
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 david@dscohenlaw.com                                Attorney for Defendant
 Attorney for Plaintiff




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of July, 2018, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will provide a copy

electronically to Michael Kest, Esquire, Michael Kest, Esquire, 1150 Louisiana Avenue, Suite 4,

Winter Park, FL 32789.



LAW OFFICES OF DAVID S. COHEN, LC

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